Case 2:04-cr-20498-SHI\/|-ch Document 49 Filed 07/07/05 Page 1 of 2 Page|D 59

 

  

IN THE UNITED sTATEs DISTRICT COURT men a __ __ __ __ B_C_
FOR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVIsIoN 05 JUL -7 AH 7: 2b

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UNITED sTATEs oF AMERICA CLES‘\§\’,,__ . . .CT 00th
an <,. rt-li~jt-:PH:S

V.

04-20498-Ma
RONALD JONEs

 

ORDER ON ARRAIGNMENT
SuDersedil_l_g Indictmegt

This cause came to be heard on 6 , the United States Attorney
for this district appeared on behalf of the ve ent, and the defendant appeared in person and with
counsel:

NAME r c , who is Retained/Appointed.
-"-"-'-_-l-_¢

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

Thedefendant, who is not in custod , may stand on his present bond.
'l`he defendant, (not having 1gaaezront:l) (being a state soner) (being a federal prisoner)
(being held Without bond pursuant 0 BRA of 1984), is rem ded to the custody of the U.S. Marshal.

/
UNITED STATES MAGISTRATE JUDGE

cHARGEs: 21 :846; 21;341(3)(1);

U. S. Attorney assigned to Case: D. Henry

Age: 3 (/

we document entered on the docket sheet ln com t!ance
,:1 P.u|e 55 and/or 32(b} FRCrP on “ ‘ §

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20498 Was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

